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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                        )   NO. CR 21-0031 JSW
                                                      )
14           Plaintiff,                               )   JOINT STATUS REPORT AND STIPULATION TO
                                                      )   CONTINUE HEARING AND EXCLUDE TIME
15      v.                                            )   FROM FEBRUARY 9, 2021, TO MAY 18, 2021
                                                      )   AND [PROPOSED] ORDER
16   SCOTT LONG,                                      )
                                                      )
17           Defendant.                               )
                                                      )
18
19           The above-captioned matter is currently scheduled for an initial status conference before the
20 Court via teleconference line on February 9, 2021. The parties submit the following joint status report

21 per the Court’s Order of January 27, 2021.

22           The defendant, Scott Long, waived Indictment and stands before the Court charged by
23 Information with one count of Accessing Child Pornography with Intent to View, in violation of 18

24 U.S.C. §§ 2252(a)(4)(B) and (b)(2). Mr. Long is out of custody and currently under the supervision of

25 Pretrial Services Agency. The parties have reached an agreed upon resolution and will submit a plea

26 agreement for the Court’s review, and request that the matter be set for an in-person, combined change

27 of plea and sentencing hearing on May 18, 2021, at 9:00 a.m.

28           The defendant requests that the matter be referred to the U.S. Probation Office for preparation of

     JOINT STATUS REPORT                                  1
     Case No. CR 21-0031 JSW
 1 a pre-sentence report (PSR). The defendant, through defense counsel, and government counsel hereby

 2 waive disclosure of the PSR before plea is entered so that the plea may be taken at time sentence will be

 3 imposed. The parties further agree that the Court may meet with the assigned probation officer in

 4 advance of the hearing to discuss the Probation Officer’s sentencing recommendation.

 5          The defendant requests that should an in-person hearing not be possible on the proposed date due

 6 to the COVID-19 pandemic, that the matter may be continued at that time in order that the hearing may

 7 proceed in-person.

 8          It is further stipulated by and between counsel for the United States and counsel for the

 9 defendant that time be excluded under the Speedy Trial Act from February 9, 2021, through May 18,

10 2021. Defense counsel needs additional time to prepare with Mr. Long for the change of plea hearing

11 and the sentencing hearing. For this reason, the parties stipulate and agree that excluding time until May

12 18, 2021, will allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The

13 parties further stipulate and agree that the ends of justice served by excluding the time from February 9,

14 2021, through May 18, 2021, from computation under the Speedy Trial Act outweigh the best interests

15 of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

16          The undersigned Assistant United States Attorney certifies that she has obtained approval from

17 counsel for the defendant to file this joint status report and proposed order.

18
19          IT IS SO STIPULATED.

20 DATED: February 3, 2021                                         /s/                  ___
                                                          SAMANTHA SCHOTT BENNETT
21                                                        Assistant United States Attorney

22
     DATED: February 3, 2021                                       /s/              ___
23                                                        JOYCE LEAVITT
                                                          Counsel for Defendant SCOTT LONG
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     JOINT STATUS REPORT                                  2
     Case No. CR 21-0031 JSW
 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the

 3 Court, and for good cause shown, the Court hereby VACATES the status hearing currently scheduled

 4 for February 9, 2021, and schedules a hearing for change of plea and sentencing before the Court on

 5 May 18, 2021, at 9:00 a.m.

 6          Pursuant to the consent of the parties, the matter is referred to the U.S. Probation Office so that a

 7 Pre-Sentence Report (PSR) may be prepared in advance of the May 18, 2021, hearing.

 8          The Court further finds that failing to exclude the time from February 9, 2021, through May 18,

 9 2021, would unreasonably deny defense counsel and the defendant the reasonable time necessary for

10 effective preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

11 The Court further finds that the ends of justice served by excluding the time from February 9, 2021, to

12 May 18, 2021, from computation under the Speedy Trial Act outweigh the best interests of the public

13 and the defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS HEREBY

14 ORDERED that the time from February 9, 2021, through May 18, 2021, shall be excluded from

15 computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

16          IT IS SO ORDERED.

17

18 DATED: ___________________                                     ___________________________
                                                                  HON. JEFFREY S. WHITE
19                                                                United States District Judge

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     JOINT STATUS REPORT                                  3
     Case No. CR 21-0031 JSW
